Our File No.: 49269
MORTON & CRAIG, LLC
110 Marter Avenue
Suite 301
Moorestown, NJ 08057
(856)866-0100
Attorney for Ford Motor Credit Company LLC
JM5630___________________________

                                                   UNITED STATES
                                                   BANKRUPTCY COURT FOR
                                                   THE DISTRICT OF NEW
                                                   JERSEY
IN RE:
  JOHN P. CONKLIN
  MELISSA A. CONKLIN                               CHAPTER 13
                                                   CASE NO: 17-36011(KCF)
                                                   HEARING DATE: 8-6-2019

                                                   NOTICE OF MOTION OF
                                                   FORD MOTOR CREDIT
                                                   COMPANY LLC TO MODIFY
                                                   THE AUTOMATIC STAY
         To:
                John and Melissa Conklin
                63 Guilford Place
                Burlington, NJ 08016
                Debtor

                Brad J. Sadek, Esq.
                1315 Walnut Street
                Suite 502
                Philadelphia, PA 19107
                Attorney for the debtor

                Albert Russo
                Standing Chapter 13 Trustee
                CN 4853
                Trenton, NJ 08650-4853
                Trustee

                U.S. Trustee, US Dept of Justice
                Office of the US Trustee
                One Newark Center, Suite 2100
                Newark, NJ 07102
   John R. Morton, Jr., Esquire, attorney for Ford Motor Credit Company LLC, has filed

papers with the Court for relief from the automatic stay to permit Ford Motor Credit

Company LLC to repossess and sell the motor vehicle(s) described in the attached

pleadings.   Your rights may be affected. You should read these papers carefully

and discuss them with your attorney, if you have one in this bankruptcy case. If you

do not have an attorney, you may wish to consult with one. If you do not want the

Court to grant the relief sought, or if you want the Court to consider your views on the

motion, then no later than seven (7) days before the hearing date, you or your attorney

must:

        File with the Court a written request for a hearing (or, if the Court requires a

written response, an answer, explaining your position) at:

        United States Bankruptcy Court
        402 E. State Street
        Trenton, NJ 08608


        If you mail your (request) (response) to the Court for filing, you must mail it

early enough so the Court will receive it on or before the date stated above.

        You must also mail a copy to:

        John R. Morton, Jr., Esquire
        110 Marter Avenue, Suite 301
        Moorestown, NJ 08057
        TAKE FURTHER NOTICE that the facts movant relies upon, as set forth on the

accompanying certification, and the basis for relief from the automatic stay, do not

present complicated questions of fact or unique questions of law, it is hereby submitted

that no brief is necessary in the Court’s consideration of the within Motion, and TAKE

FURTHER NOTICE that oral argument is hereby not requested.




   Attend the hearing scheduled to be held on August 6, 2019 at 9 a.m. in

Courtroom #8, United States Bankruptcy Court, 402 E. State Street, Trenton, New

Jersey 08608.

        If you or your attorney do not take these steps, the Court may decide that you do

not oppose the relief sought in the motion and may enter an order.


Date:   7-10-2019                                /s/ John R. Morton, Jr.
                                                 John R. Morton, Jr., Esquire
                                                 Attorney for Ford Motor Credit
                                                 Company LLC
